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                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA

IN RE:                              )
                                    )
LINDA F. HILL                       )     Chapter 13
                                    )     Case No. 17-60400-EJC
            Debtor                  )

                                 WITHDRAWAL

      COMES NOW, counsel for the above-captioned Debtor and

hereby withdraws the response to the Trustee's notice of non-

compliance.

      This 5th day of March, 2019.

H. LEHMAN FRANKLIN, P.C.

                                                /s/ Kimberly S. Ward
                                                Kimberly S. Ward
                                                Attorney for Debtor
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                          CERTIFICATE OF SERVICE

      This is to certify that I have this day electronically

served the foregoing Withdrawal upon O. Byron Meredith, III,

Chapter 13 Trustee.

      This 5th day of March, 2019.
                                                H. LEHMAN FRANKLIN, P.C.

                                                /s/ Kimberly S. Ward
                                                Kimberly S. Ward
                                                Attorney for Debtor
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